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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

MALCOLM X. SHEPPARD,

       Plaintiff,

v.                                                   Civil Action No.: 3:18-cv-00723-HEH

THE VISITORS OF VIRGINIA STATE UNIVERSITY, et al.

       Defendants.

                PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
            DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

       Plaintiff Malcolm X. Sheppard, by counsel, submits this memorandum in opposition to

the Motion to Dismiss Amended Complaint, filed by the defendants The Visitors of Virginia

State University and Henry DeBose.

I.     INTRODUCTION

       The plaintiff brings this action against VSU for unequal enforcement of the Student Code

of Conduct on the basis of sex, in violation of IX of the Education Amendments of 1972 (“Title

IX”), 20 U.S.C. § 1681(a). Following an altercation with a former girlfriend (“Student A”) that

resulted in administrative charges against the each of them, as well as a female friend of Student

A (“Student B”), VSU took prompt action against plaintiff, but none against Students A or B

until after plaintiff reported the gender-based disparity to the U.S. Department of Education,

Office of Civil Rights (“OCR”). The OCR concluded that the discrepancy was “demonstrative”

that VSU treated plaintiff differently from the female students.

       Sheppard also alleges that VSU official DeBose violated Sheppard’s rights to due process

guaranteed by the 14th Amendment to the U. S. Constitution to be arbitrarily and haphazardly

suspended, without notice of charges against him or affording him an opportunity to be heard.
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Sheppard enjoys a property interest entitling him to such constitutional protections, established

by Sheppard’s payment of tuition fees, and also by policies and procedures enacted by VSU that

substantially limits its ability to suspend students except for cause and only after notice and an

opportunity for hearing. As a result of the suspension, Sheppard was involuntarily withdrawn

from his courses mid-academic semester, forfeiting his academic credit and the tuition he paid

for them.

       Finally, Sheppard alleges that DeBose violated Sheppard’s rights to equal protection of

law guaranteed by the 14th Amendment to the U.S. Constitution to be free from discrimination

while participating in an education program on account of his male gender.



II.    FACTUAL BACKGROUND

       The facts asserted by Mr. Sheppard in his Complaint can be summarized as follows:

       Sheppard enrolled in VSU for the 2016-2017 academic year. Upon doing so, he became

subject to the “rights, responsibilities and privileges pertaining to [student’s] experience at

VSU,” and set forth in the VSU Student Handbook. (Amended Complaint ¶ 7) The Student

Handbook “contains the rules and regulations governing conduct.” It sets forth the procedures to

be followed when complaints are filed against students. (Am. Comp. ¶¶ 8-11) It further identifies

“Rights of the Accused,” which describes the elements of due process to be followed before a

student is sanctioned, including suspended or expelled. (Am. Comp. ¶ 12)

       On October 25, 2016, Sheppard was involved in a physical confrontation with a female

student with whom Sheppard was ending a two-year romantic relationship. (Am. Comp. ¶ 13)

The female student (Student A) and a friend (Student B) stole from Sheppard’s dorm room a cell

phone charger and items of clothing. Sheppard went to retrieve the items and in the process



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pushed Student A. (Am. Comp. ¶¶ 14-16) VSU’s police unit was called and referred Sheppard to

VSU’s Office of Judicial Affairs on charges of assault. The police unit also referred Students A

and B to the OJA on charges of larceny. (Am. Comp. ¶ 17)

       The next day, October 26, 2016, Henry DeBose, Director of VSU’s Office of Judicial

Affairs, issued Sheppard a Pre-Hearing Notice. (Am. Comp. ¶ 18) A hearing was held on

October 31, 2016 to adjudicate charges of assault against Sheppard. (Am. Comp. ¶ 19) Sheppard

was found responsible for physical assault, threats, intimidation or harassment, and violence on

university property. (Am. Comp. ¶ 20) On November 1, 2016, a sanction was imposed on

Sheppard of community service, anger management classes, relationship violence education and

probation for one semester. (Am. Comp. ¶ 21) Critically for this action, Sheppard was not

suspended from VSU. (Id.) He did, however, go home and never returned to campus. (Am.

Comp. ¶ 19)

       Following the October 25th incident, Student A obtained a protective order against

Sheppard. It prohibited him from entering the VSU campus, or within 100 feet of her. (Am.

Comp. ¶ 22) Sheppard receive no notice of the request for the protective order, and thus did not

appear in court to object to it. (Id.) The protective order was thereafter extended through January

2017. (Am. Comp. ¶ 24)

       On November 11, 2016, the Office of Student Conduct sent email messages to

Sheppard’s teachers requesting that they make arrangements for him to complete his coursework

online. Three of Sheppard’s four teachers made such arrangements. (Am. Comp. ¶ 25)

       On November 29, 2016, DeBose informed Sheppard that his “suspension” remained in

effect. (Am. Comp. ¶ 26) This was a new sanction since he was not suspended as part of his

sanction for the assault. (Id.) DeBose further informed Sheppard that he would be “withdrawn”



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from school, and was denied permission to complete his coursework online. (Am. Comp. ¶ 27)

Sheppard alleges that this suspension violated the procedures for suspension described in the

Student Code of Conduct, which requires an opportunity for a hearing. (Am. Comp. ¶ 28) The

suspension served to deny Sheppard academic credit for his courses. (Am. Comp. ¶ 29) This

suspension caused Sheppard to forfeit the tuition he paid. (Id.)

       As VSU did not adjudicate administrative charges against Students A or B for larceny,

arising out of the same incident, on January 23, 2017, Sheppard initiated a complaint for sex

discrimination in an education program with the U.S. Department of Education, Office of Civil

Rights. (Am. Comp. ¶ 30) VSU violated the Student Code of Conduct by failing to adjudicate

charges against Students A & B, including delivering notice of charges within three business

days, and scheduling a pre-hearing conference shortly thereafter. (Am. Comp. ¶¶ 32-34) VSU

received notice of Sheppard’s Dept. of Education complaint on March 16, 2017. (Am. Comp. ¶

35) Four days later, on March 20, 2017, VSU initiated administrative charges against Student A.

(Am. Comp. ¶ 37) A hearing was conducted on April 7, 2017, with Student A being found

responsible for larceny and sanction, and Student B acquitted. (Id.)

       The Dept. of Education determined after a preliminary investigation that Sheppard

established a prima facie case of discrimination since VSU took swift action against him and

delayed taking action against the female students until it received notice of Sheppard’s

complaint. (Am. Comp. ¶ 39-41) VSU thereafter entered into a Resolution Agreement with the

Dept. of Education. (Am. Comp. ¶ 41)




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III.    Legal Standard

        A. Fed. R. Civ. P. 12(b)(1)

        In a challenge to a court’s subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1), the

plaintiff has the burden diction of establishing proper federal jurisdiction is proper. See Lucas v.

Henrico County Sch. Bd., 822 F.Supp.2d 589, 599 (E.D. Va., 2011) (citing Int'l Longshoremen's

Ass'n v. Va. Int'l Terminals, Inc., 914 F.Supp.2d 1335, 1338 (E.D.Va.1996) (in turn citing

McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936); Adams v. Bain, 697 F.2d

1213, 1219 (4th Cir.1982)).

        “If the facts necessary to determine jurisdiction are intertwined with the facts central to

the merits of the dispute, the proper course of action is for the court to find that jurisdiction exists

and then to resolve the factual dispute on the merits unless the claim is made solely for the

purpose of obtaining jurisdiction, or is determined to be wholly insubstantial and frivolous.”

Lucas, 822 F.Supp.2d at 599 (citing Adams, 697 F.2d at 1219; United States v. North Carolina,

180 F.3d 574, 580 (4th Cir.1999); Bell v. Hood, 327 U.S. 678, 682–83 (1946).

        B. Fed. R. Civ. P. 12(b)(6)

        Whether a complaint sufficiently states a claim upon which relief can be granted is

governed by the Supreme Court’s plausibility framework outlined in Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (“A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.”) and Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) (“[W[e do not require

heightened fact pleading of specifics, but only enough facts to state a claim to relief that is

plausible on its face.”).




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         The Fourth Circuit has clarified that plausibility standard under both Iqbal and Twombly

is not high: “To survive a motion to dismiss pursuant to Rule 12(b)(6), plaintiff’s ‘[f]actual

allegations must be enough to raise a right to relief above the speculative level,’ thereby

‘nudg[ing] their claims across the line from conceivable to plausible.’” Aziz v. Alcolac, Inc., 658

F.3d 388, 391 (quoting Twombly, 550 U.S. at 555 (2007).

         Nor is a plaintiff subject to a court’s belief in the allegations: “Although the Supreme

Court has made clear that the factual allegations in a complaint must make entitlement to relief

plausible and not merely possible, what Rule 12(b)(6) does not countenance are dismissals based

on a judge’s disbelief of a complaint’s factual allegations.” McLean v. United States, 566 F.3d

391, 399 (4th Cir. 2009) (internal quotation marks and citations omitted). If a claim lacks merit, it

“may be dealt with through summary judgment under Rule 56.” Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 514 (2002).



IV.      ARGUMENT

         A. COUNT ONE – TITLE IX VIOLATION AGAINST VSU

         Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), states:

         No person in the United States shall, on the basis of sex, be excluded from
      participation in, be denied the benefits of, or be subjected to discrimination under any
      education program or activity receiving Federal financial assistance. . . .

         “Title IX unquestionably prohibits federally supported educational institutions from

practicing ‘discrimination’ on the basis of sex.” Brzonkala v. Va. Polytechnic Inst. and State

Univ., 132 F.3d 949, 957 (4th Cir. 1997), rev’d en banc on other grounds, 169 F.3d 820 (4th Cir.

1999). As virtually every other circuit court of appeals, the Fourth Circuit has endorsed and

followed the Second Circuit’s formulation for challenging a university’s disciplinary proceeding



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under Title IX, expressed in Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994), specifically,

(1) “erroneous outcome,” and (2) “selective enforcement.” Brzonkala, 132 F.3d at 961-62.

       Plaintiff is proceeding exclusively under the “selective enforcement” standard, which

“asserts that, regardless of the student’s guilt or innocence, the severity of the penalty and/or the

decision to initiate the proceeding was affected by the student’s gender.” Yusuf, 35 F.3d at 715.

Plaintiff is proceeding under this theory because he does not challenge the finding of

responsibility by the OJA, but states that he suffered unequal treatment in relation to the two

female students, evidenced by patterns of decision-making that show the influence of gender. Id.

In essence, VSU selectively enforced its Student Code of Conduct against plaintiff on account of

his male sex, and brought no charges against Students A and B until after plaintiff complained to

the U.S. Dep’t of Education Office of Civil Rights. Indeed, the OJA seemed content to tolerate

the female students ignoring its messages asking them to contact OJA about the incident.

       Defendants argue that plaintiff failed to state a claim for selective enforcement because of

his sex because he was purportedly not “similarly situated” with Students A or B. Defendants do

not cite to any Fourth Circuit or Eastern District of Virginia authority for the “similarly situated”

requirement.

       Despite the different charges against Sheppard and Student A, each were “similarly

situated in all material respects,” inasmuch as both were students at VSU, they engaged in

misconduct arising from the same incident, both were subject to the same Student Code of

Conduct, both had charges leveled against them by the VSU Department of Police and Public

Safety, both were subject to the same adjudicatory process established by the VSU Student Code

of Conduct, and both students shared the same prior disciplinary history. Lewis v. City of Union

City, Ga., 918 F.3d 1213 (11th Cir. 2019) (en banc) (articulating “similarly situated in all material



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respects” standard for analyzing employment discrimination claims under Title VII of Civil

Rights Act). Courts have relied on Title VII principles in analyzing Title IX claims alleging

discrimination in a university’s student disciplinary proceedings. Yusuf, 35 F.3d at 715; Mallory

v. Ohio Univ., 76 Fed. Appx. 634, 638–39 (6th Cir. 2003).

       VSU’s reliance on the Tennessee District Court in Doe v. Univ. of the S., 687 F.Supp.2d

744, 756 (D. Tenn. 2009), is unavailing because it employs a “circumstances sufficiently

similar” standard. An examination of the standard shows that rather than a robotic adherence to

the “similarly situated” verbiage, the standard is derived to assist the court in ascertaining

whether the university exhibited more favorable treatment on account of sex. “To support a

claim of selective enforcement, Plaintiffs must demonstrate that a female was in circumstances

sufficiently similar to John Doe’s and was treated more favorably by the University.” Doe, 687

F.Supp.2d at 756.

       Applying this standard, the fact that plaintiff and Students A and B brought charges

against each other arising from the same incident, in a process presided over by the same

university administrators, makes the individuals “sufficiently similar” for purposes of

determining bias, regardless of the charges being different in nature. The standard does not

require that the male and female comparators be in precisely the exact situation (same charge,

same incident, same decision-maker) but that they be in “sufficiently similar” circumstances to

allow a fact-finder to reach a plausible finding that one individual was treated more favorably on

account of sex.

       Neither the Fourth Circuit in Brzonkala, nor the Second Circuit in Yusuf, demanded a

rigid comparison of opposite sexed individuals facing the same exact charges to state a claim for

gender bias. Instead, what is required is a “particularized allegation relating to a causal



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connection between the flawed outcome and gender bias.” Brzonkala, 132 F.3d at 960, quoting

Yusuf, 35 F.3d at 715. “Such allegations might include, inter alia . . . patterns of decision-making

that also tend to show the influence of gender.” Id. Plaintiff has alleged a pattern whereby the

OJA issued him a Pre-Hearing Notice the day after the altercation, and conducted his hearing

within the week; but allowed Students A and B to ignore OJA’s e-mailed request to contact it

and failed to issue a Pre-Hearing Notice or conduct a hearing until after plaintiff complained to

OCR. This is sufficient under Brzonkala and Yusuf to state a claim for discrimination under Title

IX despite plaintiff’s charges being different in nature than either Student A’s or B’s.

       Other cases supporting disparate treatment in differing investigative and adjudicative

approaches between male and female students facing accusations of misconduct include: Doe v.

Univ. of Ore. (Case No. 6:17-cv-001103-AA) (D. Ore. March 26, 2018) at 32 (inference of

gender disparity could include “evidence that when the accused is a woman and/or when the

accuser is a man, the University conducts sexual misconduct investigations and adjudications

differently.”); Doe v. Amherst Coll., 238 F. Supp.3d 195 (D. Mass. 2017) (selective enforcement

adequately pled when male and female students both charged with sexual assault but university

took proactive steps to encourage the female to file a formal complaint, but not the male student;

nor did it investigate claim against female student); Rossley v. Drake Univ., 2018 WL 530762

(D. Minn. 2018) (“An accused student and his or her accuser can be compared to show selective

enforcement if the parties alleged misconduct against each other.”).

       Defendants remain free to argue that VSU pursued the charges against plaintiff more

rigorously because his charges were more serious, but that does not negate the inference plaintiff

raises in his Complaint that the disparity was motivated by his male sex. Iqbal and Twombly’s

plausibility standard “does not required that the inference of discriminatory intent supported by



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the pleaded facts be the most plausible explanation of the defendant’s conduct. It is sufficient if

the inferences of discriminatory intent is plausible.” Doe v. Columbia Univ., 831 F.3d 46, 57 (2d

Cir. 2016).



       C.      COUNT III – DEPRIVATION OF DUE PROCESS BY DEBOSE.

       The Fourteenth Amendment to the United States Constitution provides that no state shall

“deprive any person of life, liberty or property, without due process of law.” Due process

protections are required in publicly-sponsored education disciplinary proceedings. Goss v.

Lopez, 419 U.S. 565, 579 (1975) (“At the very minimum, therefore, students facing suspension

and the consequent interference with a protected property interest must be given some kind of

notice and afforded some kind of hearing.”).

       DeBose arbitrarily and haphazardly suspended Sheppard without justification, without

leveling charges against him, or notifying him of such charges, and without affording him an

opportunity to be heard. This action violated VSU’s own Student Code of Conduct that sets forth

the procedure to be followed prior to suspending a student, and further sets forth the rights of a

student accused of misconduct. DeBose ignored the procedures when he unilaterally and

summarily suspended Sheppard from VSU and denied him the opportunity to complete his

coursework online, which three of Sheppard’s four teachers had approved, and which Sheppard

could have completed off campus in compliance with the protective order issued by the

Chesterfield County General District Court.

       Sheppard enjoyed a property interest in not being arbitrarily or haphazardly suspended,

without notice or opportunity to be heard. Sheppard’s entitlement to continued enrollment arose

from the fact that he paid his tuition and fees to VSU for the fall 2016 semester, and therefore

had an interest in being permitted to complete his coursework so far as he met academic

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standards and did not engage in misconduct. See Doe v. Marymount Univ., 297 F.Supp.3d 573,

588 (E.D. Va. 2018) (“[T]o the extent any contract can be implied between a student and his or

her university, the student is only protected from irrational, haphazard treatment by the

university.”).

          Sheppard further enjoyed a property interest against summary suspension in VSU’s

policies and procedures that established a system of suspending students “only after a finding of

cause,” which may give rise to “an entitlement to continued enrollment,” and “therefore a

protected property interest.” Doe v. Alger, 175 F.Supp.3d 646, 658 (W.D. Va. 2016).

          DeBose was directly responsible for suspending Sheppard despite knowing that he was

not issued a suspension by the VSU Office of Judicial Affairs. DeBose denied Sheppard the

opportunity of completing his coursework online, away from campus, and erroneously withdrew

Sheppard from classes mid-semester.

          Sheppard was wrongfully suspended by DeBose, which was not a sanction imposed by

OJA. DeBose suspended Sheppard without bringing charges against Sheppard, without notifying

Sheppard of the charges against him, without invoking the procedure and adjudicative processes

set forth in the Student Code of Conduct, and without affording Sheppard a right to a hearing or

at least conferring with Sheppard so he could be heard. Accordingly, DeBose’s suspension

violated Sheppard’s due process rights to basic fairness, including but not limited to, notice and

the opportunity to be heard.

          As an employee, agent and representative of VSU, DeBose was acting under color of

state law when he displayed intentional and reckless disregard for Sheppard’s constitutional

rights.




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         In City of Canton v. Harris, 489 U.S. 378 (1989), the Supreme Court held that a

municipality may be liable under Section 1983 where its policymakers made “a deliberate choice

to follow a course of action . . . from various alternatives, and the policy chosen reflects

deliberate indifference to the constitutional rights of [the city’s] inhabitants.” Id. at 391. The

Due Process Clause of the Fourteenth Amendment protects people from the arbitrary deprivation

of life, liberty, and property, without due process of law” by state governments. Deshaney v.

Winnebago Cnty Dep’t of Soc. Servs., 489 U.S. 189, 196 (1989).

        Given that DeBose composed the letter suspending Sheppard, the evidence affirmatively

shows that he “‘acted personally in the deprivation of plaintiff’s rights.’” Oliver v. Powell, 250

F.Supp.2d 593, 598 (E.D. Va. 2002) (emphasis in original) quoting Wright v. Collins, 766 F.2d

841, 850 (4th Cir. 1985).

        Defendants’ suspension of plaintiff cannot be attributed to the Chesterfield court’s

protective order. The protective order only restricted plaintiff from appearing on campus and

within 100 feet from Student A. Plaintiff abided by these restrictions, and did not return to the

VSU campus following the October 25, 2016 incident save to attend his OJA hearing. The

Chesterfield court had no power or authority to suspend plaintiff from VSU. Nor did the

protective order prohibit plaintiff from completing his coursework online, as he had previously

arranged with the consent of all but one of his professors.

        Thus, DeBose cannot pin the suspension and withdrawals from his classes on the court

protective order. It is solely his fault.

        Imposing a sanction of suspension without notice or hearing is not a gray area of the law.

DeBose should have been aware from his experience in the higher education disciplinary field

that they had no authority to suspend a student, prevent him from completing coursework online,



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or withdraw him involuntarily from class outside of the OJA process and without due process of

law.

       DeBose was aware that the OJA did not impose a suspension. He was aware that

Sheppard had made arrangements with his professors to complete the coursework online – in

fact, DeBose had reached out to the professors specifically for this purpose. He should have had

the common sense to understand that the Chesterfield court protective order was not a bar to

Sheppard’s completing his coursework online. There is no reason for supposing that DeBose was

somehow unaware that he could not suspend Sheppard without conducting a hearing of charges

against him. Accordingly, DeBose cannot avail himself of the doctrine of qualified immunity.



       D.      COUNT III – DEPRIVATION OF EQUAL PROTECTION BY DEBOSE.

       DeBose, was directly responsible for discriminating against Sheppard and denying him

the right to participate in an educational program on account of his male gender, in violation of

Sheppard’s constitutional right to equal protection of the laws, guaranteed under the Fourteenth

Amendment to the U.S. Constitution, which is actionable under 42 U.S.C. § 1983. Fitzgerald v.

Barnstable School Comm., 555 U.S. 246, 258 (209) (“§ 1983 suits based on the Equal Protection

Clause remain available to plaintiffs alleging unconstitutional gender discrimination in

schools.”).

       As Director of VSU’s Office of Judicial Affairs, DeBose was directly responsible for

initiating judicial action against Sheppard but not against Student A for the conduct arising from

the same October 25, 2016 incident. DeBose violated the procedures contained in VSU’s Student

Code of Conduct when he failed to notify Student A of the administrative charge of larceny

within three business days of the incident, and schedule a hearing soon thereafter. This disparate



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treatment from the action taken against Sheppard constitutes a deprivation of equal protection of

the laws.

         As an employee, agent and representative of VSU, DeBose was acting under color of

state law when he displayed intentional and reckless disregard for Sheppard’s constitutional

rights

         As a result of these equal protection violations, Sheppard was wrongfully suspended and

suffers ongoing harm, including interruption of his college career, forfeiture of tuition paid and

academic credit for courses partially completed and which could have been completed, and other

monetary and non-monetary damages.



V. CONCLUSION

         For the foregoing reasons, the defendants’ Motion to Dismiss the Amended Complaint

should be denied.

                                      Respectfully submitted,

                                      MALCOLM X. SHEPPARD



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of June, 2019, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the following:


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